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 7
                             UNITED STATES BANKRUPTCY COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA
 9
     In the Matter of:                               )   Case No: 17-41704 CN13
10                                                   )
     Rosemary Greene                                 )   Chapter 13
11                                                   )
                                                     )   Motion to Dismiss Case
12                        Debtor                     )
                                                     )   Hearing
13                                                   )
                                                     )   Date: March 23, 2018
14                                                   )   Time: 11:00 AM
                                                     )   Place: 1300 Clay Street, Oakland, CA 94612
15                                                   )   Judge: Honorable Charles Novack
16
17          Creditors Bosco and Maya Kante request that the Court enter an order dismissing the
18   chapter 13 case for cause under §1307(c) on account of prejudicial delay, bad faith, failure to
19   file a confirmable plan, and denial of confirmation. The Motion is supported by a
20   Memorandum of Points and Authorities, the Kantes’ prior Objection to Confirmation and
21   Amended Objection already on the docket, and the supporting declarations and exhibits to
22   those pleadings.
23          The Kantes request that the Court enter an order dismissing the case for the reasons
24   stated above, and that the dismissal is with prejudice, or with a bar to refiling for 12 months.
25
26    Dated:    February 19, 2018                           /s/ Andrew J. Christensen
27                                                          Andrew J. Christensen
                                                            Attorney for Creditors
28




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                            UNITED STATES BANKRUPTCY COURT
 8                          NORTHERN DISTRICT OF CALIFORNIA
 9
     In the Matter of:                            )    Case No: 17-41704 CN13
10                                                )
     Rosemary Greene                              )    Chapter 13
11                                                )
                                                  )    Memorandum of Points and Authorities in
12                       Debtor                   )    Support of Motion to Dismiss Case
                                                  )
13                                                )    Hearing
                                                  )
14                                                )    Date: March 23, 2018
                                                  )    Time: 11:00 AM
15                                                )    Place: 1300 Clay Street, Oakland, CA 94612
                                                       Judge: Honorable Charles Novack
16
17
            This Memorandum is filed in support of Creditors Bosco and Maya Kante’s Motion to
18
     Dismiss the case for cause under §1307(c).
19
            A. Unreasonable Delay
20
            The Debtor has caused unreasonable delays in this case that are prejudicial to the
21
     creditors. This is grounds for dismissal under §1307(c)(1). This case was filed June 30, 2017.
22
     Confirmation has been delayed by stipulation and request for over 7 months now, and there
23
     has been virtually no meaningful progress made by the Debtor to file a confirmable plan,
24
     address the Kantes’ objection to confirmation, pursue the objection to claim Debtor filed, or
25
     resolve the issues with the Kantes. The Debtor has not filed a response or opposition to the
26
     Kantes objection to confirmation, or the amended objection to confirmation. Now, the Debtor
27
     has filed a pre-hearing statement asking for another extension of 90 days on the confirmation.
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 1   (Debtor’s Pre Hearing Statement, Docket #79). If that is granted, it will put this case at
 2   confirmation a year after it was filed.
 3          The reason this delay is prejudicial is because the Debtor illegally and wrongfully
 4   stole the Kante’s rental business and primary source of income and a large amount of personal
 5   property furniture assets when she locked the Kantes out of the Greenridge and Hansom
 6   properties that they were managing under a valid lease agreement with the Debtor. The
 7   Kantes lost tens of thousands of dollars of furniture in the property that Ms. Greene has taken
 8   from them. (Am. Obj. to Conf. Docket 51 page 1 line 24 through page 2 line 8). The Kantes
 9   were running a successful rental business that was earning money for both the Kantes and Ms.
10   Greene. Ms. Greene is not making any payments on the claim of the Kantes during this plan,
11   and is actively thwarting resolution of the case by refusing to negotiate in good faith, or move
12   forward with evidentiary hearings on the merits of the objections to confirmation or the
13   objection to claim.
14          There has been virtually no discussion of the merits of the objection to confirmation or
15   objection to claim. Debtor has not indicated to Creditor which of the facts alleged in the
16   objection to confirmation for bad faith are disputed, or how they can be resolved, or what
17   evidence will be offered in support. Debtor’s only proposal at this point is another 90 days to
18   informally resolve the case, perhaps with a neutral evaluation with the BDRP program. Based
19   on the last 7 months of this case, there is no reason to believe that anything else will happen
20   informally in the next 90 days that will actually go to resolve the case.
21          Ms. Greene deprived the Kantes of their legal rights under a valid lease which was a
22   primary source of income for their family. It is harmful to the Kantes to be forced to spend
23   time and money to fight this bankruptcy case while not receiving income, nor having the
24   ability to pursue their claim to judgment in state court. The Court should dismiss this case
25   now and not consolidate confirmation or the motion to dismiss with the claim objection or any
26   adversary proceeding because none of that will mater in the end when the Debtor cannot
27   overcome the evidence of bad faith in filing this petition and plan.
28



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 1          B. Denial of Confirmation
 2          This case should be dismissed for failure to have the plan confirmed. Under
 3   §1307(c)(5) denial of confirmation of a plan under §1325, and denial of a request made for
 4   additional time for filing another plan is grounds for dismissal. Here, the Amended Objection
 5   to Confirmation filed by Kantes (docket #51) is supported by 145 pages of exhibits that
 6   thoroughly document the bad faith and wrongful conduct of the Debtor in this case in
 7   undervaluing assets, making many misrepresentations and omissions in the schedules,
 8   tortuously and intentionally breaching the lease agreement and stealing the Kantes business.
 9   The Debtor cannot confirm any plan over those objections, even a 100% plan. This is true
10   regardless of the ultimate amount or treatment of the allowed claim of the Kantes. Therefore
11   the case should be dismissed now so that the parties are not forced to bear further expense and
12   delay in the bankruptcy case.
13          Furthermore, failure to file a confirmable plan is grounds for dismissal. In re Paulson
14   477 B.R. 740 (8th Cir. BAP 2012). The plan as proposed is not confirmable because of the
15   best interests of creditors test in §1325(a)(4), and because the loan modification provision has
16   failed. If the Debtor has not received a modification in the last 7 months, it is unlikely she will
17   qualify for one. The Debtor has sought a loan modification repeatedly for over 7 years, and
18   with property values continuing to rise, with each passing year Wells Fargo has had less
19   incentive to approve a modification.
20          The best interest of creditors test is not met because there is at least $683,159.77 in
21   non-exempt equity available for distribution to creditors in the plan according to the
22   §1325(a)(4) liquidation analysis based on the actual value of the properties. (Am. Obj. to
23   Conf. Docket 51 page 7). However, the plan only provides for distribution of $35,094.22 in
24   unsecured claims, and fails entirely to list any portion of Kantes’ claim for $1,429,980. This
25   plain fails the liquidation analysis even based on the scheduled property values. However, the
26   Debtor has willfully and knowingly in bad faith undervalued the properties by almost
27   $700,000.
28



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 1          The Debtor has not proposed a confirmable plan, and it is unlikely that the Debtor can
 2   propose any confirmable plan except a 100% plan to sell the property to pay the claims. But
 3   that plan has not been proposed. Confirmation of such a plan would be dependent on
 4   determining the value of the Kantes’ allowed secured claim, but Debtor has made no effort to
 5   follow up or resolve the objection to claim to address the issue on the merits. The reason for
 6   this avoidance of the merits is made clear in the Amended Objection to Confirmation where
 7   the exhibits of emails, letters, and other evidence shows that Ms. Green certainly knew that
 8   she owed a valid debt, that it was an amount large enough to disqualify her for chapter 13
 9   relief under 109(e), and that she could not pay the debt unless she sold her property. (Am.
10   Obj. to Conf. Docket 51 page 5 lines 24-28, and Exhibits B, I, H, N, O, P, Q, R, S, T, U, V).
11
12          C. Bad Faith
13          This case should be dismissed for cause based on the Debtor’s bad faith conduct in
14   proposing the plan and petition. “A Chapter 13 petition filed in bad faith may be dismissed
15   "for cause" pursuant to 11 U.S.C. § 1307(c). […] To determine if a petition has been filed in
16   bad faith courts are guided by the standards used to evaluate whether a plan has been
17   proposed in bad faith.” Eisen v. Curry (In re Eisen), 14 F.3d 469, 470 (9th Cir. 1994).
18          To determine bad faith a bankruptcy judge must review the "totality of the
19   circumstances." In re Goeb, 675 F.2d 1386, 1391 (9th Cir. 1982). A judge should ask whether
20   the debtor "misrepresented facts in his [petition or] plan, unfairly manipulated the Bankruptcy
21   Code, or otherwise [filed] his Chapter 13 [petition or] plan in an inequitable manner." Id. at
22   1390.” In re Eisen, 14 F.3d 469, 470.
23          In the Eisen case, the debtor filed bankruptcy on the eve of trial in a state court matter
24   two separate times. Each chapter 13 case was only a delay tactic, and there were many
25   omissions in his schedules related to an ownership interest and debt on a piece of real
26   property. The 9th Circuit upheld the dismissal for cause and remanded for consideration of
27   sanctions. Here, the Debtor Ms. Greene has made many material omissions, and is simply
28   stalling for time. This stalling is simply to enjoy the benefits of the automatic stay, but



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 1   without complying with any of the other obligations of bankruptcy that go with it. This case is
 2   the third case the Debtor has filed to stall and benefit from the stay. Ms. Greene has filed
 3   bankruptcy three times to stop foreclosure sales: in 2010, 2012, and 2017. This history of
 4   filings shows unfair manipulation of the system.
 5          “The record indicates that debtors enjoyed the protection of the automatic stay for over
 6   a year while making zero payments to their secured creditor; none of debtors' plans complied
 7   with the Code by providing for the payment of their secured creditor's claims.” De la Salle v.
 8   U.S. Bank, N.A. (In re De la Salle), 461 B.R. 593, 606 (B.A.P. 9th Cir. 2011).
 9          In addition, cause for dismissal of a case includes bad faith in filing the petition. In re
10   Ellsworth 45 B.R. 904 (9th Cir. BAP 2011).
11          In the present case, the bad faith of the Debtor in filing the petition and plan are well
12   documented in the Kantes’ Amended Objection to Confirmation and attached Exhibits.
13   (docket #51). Those Exhibits are voluminous and will not be reproduced here, and the Kantes
14   request that the court take judicial notice of them. The basic facts of bad faith are that the
15   Debtor undervalued her real properties by almost $700,000. The month before the petition
16   was filed she wrote a letter stating that the Greenridge property was worth $1.4million in her
17   professional opinion as a real estate agent, but she immediately thereafter listed it in the
18   schedules for $900,000. The Hansom property is similarly undervalued by $175,000. Ms.
19   Greene is a real estate agent, and knows better. This was an intentional effort to avoid having
20   to propose a plan to pay the Kantes what she owes them.
21          Ms. Greene also wrongfully breached the valid lease agreements with Kantes for the
22   Greenridge and Hansom properties, changed the locks on the property, took possession of the
23   Creditors’ furniture in the four units, and effectively destroyed the Creditors’ rental business.
24   This was a deliberate theft of property. (Am. Obj. to Conf. Docket 51 page 1 line 24 through
25   page 2 line 8). Ms. Greene is attempting to fund this chapter 13 plan with the stolen income
26   and assets of the Kantes.
27
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 1          D. Bar to Refiling Bankruptcy
 2          In the Ninth Circuit, bad faith constitutes cause for dismissal of a Chapter 13 case
 3   under § 1307 (c) and constitutes cause for dismissal with prejudice under § 349(a). In re
 4   Leavitt, 171 F.3d 1219, 1224 (9th Cir. 1999). “Bad faith, as cause for the dismissal of a
 5   Chapter 13 petition with prejudice, involves the application of the "totality of the
 6   circumstances" test. The bankruptcy court should consider the following factors: (1) whether
 7   the debtor "misrepresented facts in his [petition or] plan, unfairly manipulated the Bankruptcy
 8   Code, or otherwise [filed] his Chapter 13 [petition or] plan in an inequitable manner,"; (2)
 9   "the   debtor's history of filings and dismissals,"; (3) whether "the debtor only intended to
10   defeat state court litigation,"; and (4) whether egregious behavior is present.”
11          Based on the bad faith misconduct described above, the Kantes request the Court bar
12   the debtor from refiling bankruptcy for 12 months so that there can be no more stalling tactics
13   and delays in resolving the matter and so that the Kantes can pursue judgment in state court.
14   The bad faith in this case justifies a 12 month bar because it shows this was primarily an
15   attempt to improperly delay and hinder resolution of the matter.
16          Once the issue of bad faith is raised, it is the debtor's burden to prove his good faith. In
17   re Leavitt, 209 B.R. 935, 940 (9th Cir. BAP 1997). Kantes request that the Debtor be barred
18   for 12 months because there has been no evidence submitted of good faith there. The Debtor
19   has not opposed the Amended Objection to Confirmation, nor denied any of the factual
20   allegations.
21
22    Dated:    February 19, 2018                          /s/ Andrew J. Christensen
23                                                         Andrew J. Christensen
                                                           Attorney for Creditors
24
25
26
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